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                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH

 BRADLEY S. WHITLEY,

                         Plaintiff,                   MEMORANDUM DECISION
                                                      & DISMISSAL ORDER
 v.

 CARRIE COCKRAN et al.,                              Case No. 2:20-cv-495-JNP

                         Defendants.                 District Judge Jill N. Parrish




         Plaintiff filed a prisoner civil-rights complaint under 42 U.S.C.S. § 1983 (2020), (ECF

No. 4), and was granted in forma pauperis status under 28 U.S.C.S. § 1915 (2020), (ECF No. 3).

However, Plaintiff has not followed the court's July 28, 2020 Order, (id.), to file within thirty

days a "certified copy of the trust fund account statements . . . for the 6-month period

immediately preceding the filing of the complaint . . . obtained from the appropriate official of

each prison at which prisoner is confined.” See 28 U.S.C.S. § 1915(a)(2). Indeed, the Order was

returned to sender, marked, “Not in Custody.” (ECF No. 6.) And, Plaintiff has not since updated

his address with the court as required. See D. Utah Civ. R. 83-1.3(e) ("In all cases, counsel and

parties appearing pro se must notify the clerk's office immediately of any change in address,

email address, or telephone number.").
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       Accordingly, IT IS ORDERED that—for failure to obey the court’s Order and to

prosecute this case—Plaintiff’s action is DISMISSED without prejudice. See DUCivR 41-2. This

action is CLOSED.

              DATED this 7th day of October, 2020.

                                          BY THE COURT:



                                          JUDGE JILL N. PARRISH
                                          United States District Court




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